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                                  Exhibit 6
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                       UNITEDSTATES DISTRICTCOURT
                       EASTERNDISTRICTOF MICHIGAN
                            SOUTHERN DIVISION

 AFT MICH1GAN,
                                                Case No . 17-13292
       Plaintiff ,                              Hon. Linda V. Parker
                                                Hon. Elizabeth A . Stafford
 V.

 PROJECT VERIT AS, et al,

       Defendan ts.


                       AFFIDAVITOF RUSSELL VERNEY


       I, RussellVen1ey, am over the age of eighteen years of age, am competent to

 testify, have personal knowledge of the matters to which I testify below, and hereby

 declare as follows:

       I . T submit this declaration in support of Project Veritas's response to AFT

          Michigan's motion to compel discovery of the names of Project Veritas

          donors. ECF No . 134. Tam famjliar with AFT Michigan's claims, and T

          make these statements based on my personal knowledge . The facts set

           forth in th is affidavit are true to my knowledge .

       2. Since 2014, I have served as Executive Director of Project Veritas. In this

           capacity, I have assisted James O'Keefe in fundraising, hosting donor
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          meetings, talking with donors about g1vmg, and helping structure

          donations .

       3. In arranging for donors to give to Project Veritas, a substantial number

          elect to employ a "donor-advised account." In 2018, the most recent year

          Project Veritas was audited, 31.6 percent of contributions to it originated

          from donor-advised accounts . This percentage remains similar to previous

          years. For donor-advised accounts, a donor places his contributions in an

          account and can recommend grants to public charities while still receiving

          a tax deduction . On information and beliet: donors do this to preserve their

          own anonymity.

       4 . Throughout the years of working with donors to Project Veritas and

          addressing their concerns, privacy and confidentiality of their identities

          remain a top priority . Many donors have specific inquiries about how their

          anonymity will be protected, how Project Veritas protects against

          intentional or unintentional leaks of this information, and have stated that

          it is important to keep their names confidential.

       S. Project Veritas takes every feasible step to protect donor confidentiality

          internally. This includes requiring all staff, board members, independent

          contractors, vendors, and visitors to the office to sign a confidentiality

          agreement which safeguards, among other things, donor iufonnation .



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          Donor identities are kept confidential and only disclosed even internally

          on a "need to know" basis, and such information is password protected and

          encrypted so that only a few select executives and development associates

          have access to donors' actual names.       In discovery, Project Ve1itas

          endeavors to redact donor names from all internal and exten1al

          communications .

       6. In securing a variety of donations to Project Veritas, many donors have

          expressly stated that they would no longer give to the organization if it

          failed to keep these names confidential and protected . Project Veritas has

          been mindful of these concerns and structured its operations to protect

          donor privacy such that it may continue to exist, gather news, and publish

          stories of public concern.

       7 . Some donors share personal concerns that tl1eir economic livelihoods

          might be n1ined if their association with Project Veritas is made public .

          Donors worry that public pressure and harassment campaigns would

          mount, doing injury to their own lives. lt is for these reasons that donors

          often insist upon anonymity for any contributions given.

       8. Unlike most other news organizations, Project Veritas does not rely upon

          advertising revenue, subscriptions, or commercial funding to sustain its

          operations. Rather, it is operated as a 50J(c)(3) organization under the



                                         3
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            Internal Revenue Code and nearly one hundred percent of its budget comes

            fro m donors who support its mission . Without these donations, Project

            Veritas would not be able to continue its operations.

 Pursuant to 28 U.S.C. § 1746, I, Russell Verney, declare under penalty of perjury

 under the Jaws of the United States of America that the foregoing is true and correct.


 Executed May I I             2020.



 By~~
     Russe\]/Vemey              Z=-=----

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